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 1   KEVIN A. DARBY, NVSB# 7670
     TRICIA M. DARBY, NVSB# 7959
 2   DARBY LAW PRACTICE, LTD.
 3   4777 Caughlin Parkway
     Reno, Nevada 89519
 4   Telephone: 775.322.1237
     Facsimile: 775.996.7290
 5
     kad@darbylawpractice.com
 6   tricia@darbylawpractice.com
     Attorneys for Debtor/Debtor in Possession
 7
 8                             UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA
 9
     In re:                                             CASE NO.:     BK-N-20-50471-BTB
10                                                      Chapter 11 Subchapter V
11   ALY EATERY, INC,
                                                        DECLARATION OF KEVIN A. DARBY,
12                                                      ESQ. IN SUPPORT OF MOTION FOR
                                                        ORDER AUTHORIZING DEBTOR TO
                        Debtors.                        CONTINUE USING EXISTING BANK
13
                                                        ACCOUNT
14
                                                        Hearing Date: June 17, 2020
15                                                      Hearing Time: 2:00 p.m.
     ______________________________________/
16
              KEVIN A. DARBY, ESQ. under penalty of perjury states as follows:
17
              1.     I am counsel for Debtor and Debtor in Possession, ALY EATERY, INC.
18
              2.     Debtor maintains one business bank account, which is at Bank of America, N.A.
19
     (“Debtor’s Bank Account”).
20
              3.     On May 8, 2020, I sent an email to Bank of America’s bankruptcy debtor-in-
21
     possession account department, using contact information provided by the Office of the United
22
     States Trustee. The purpose of my email was to seek a debtor-in-possession designation for
23
     Debtor’s Bank Account. A true copy of that email is attached hereto as Exhibit 1.
24
              4.     On May 8, 2020, I received a response email from Bank of America, a true copy of
25
     which is attached hereto as Exhibit 2.
26
              DATED this 20th day of May, 2020.
27                                                   /s/ Kevin A. Darby
28                                                ______________________________
                                                  KEVIN A. DARBY, ESQ.
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                             EXHIBIT 1




                             EXHIBIT 1
                   Case 20-50471-btb            Doc 20       Entered 05/20/20 14:30:44              Page 3 of 6


kad@darbylawpractice.com

From:                  kad@darbylawpractice.com
Sent:                  Friday, May 8, 2020 10:30 AM
To:                    'dip_bankruptcy2@baml.com'
Cc:                    'Alicia Youngberg'
Subject:               Aly Eatery, Inc.


Dear Bank of America:

I represent Aly Eatery, Inc. in a pending Chapter 11 bankruptcy case in the U.S. Bankruptcy Court for the District of
Nevada (Case No. 20‐50471‐btb). My Client has an existing business checking account with Bank of America with the
last four digits of the account number being 0360. Alicia Youngberg, the President of Aly Eatery, Inc. and the authorized
signor on the checking account, is copied on this email.

My Client would like to add a “Debtor In Possession” account designation to the existing checking account. Please let us
know what needs to be done to accomplish this.

Respectfully,

KEVIN A. DARBY, ESQ.
DARBY LAW PRACTICE, LTD.
4777 Caughlin Parkway
Reno, NV 89519
Tel.: 775.322.1237
Fax: 775.996.7290

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                                                                   1
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                             EXHIBIT 2




                             EXHIBIT 2
RE: Aly Eatery, Inc. [Sent To: dip_bankruptcy2@baml.com]                                        https://secmail.bankofamerica.com/securereader/read.jsf
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          Reply       Reply All         Save As...                                                                                   Help

          RE: Aly Eatery, Inc. [Sent To: dip_bankruptcy2@baml.com]
          From:   DIP_Bankruptcy
          To:     kad@darbylawpractice.com
          Cc:
          Sent:   5/8/2020 10:53:24 AM

          Hello Kevin,

          Please be advised Bank of America is s ll listed on the approved Banking List with the EOUST for Debtor in Possession
          rela onships.

          However, only clients with an exis ng Commercial Banking rela onship with an assigned banker will be serviced. We
          will not open or service any Debtor in Possession account for a consumer or small business rela onship, whether an
          exis ng client of Bank of America’s or not.

          Please assist the client by recommending another EOUST approved ins tu on.

          We apologize for any inconvenience.

          Thank you,
          DIP_Bankruptcy

          From: kad@darbylawprac ce.com [mailto:kad@darbylawprac ce.com]
          Sent: Friday, May 08, 2020 1:30 PM
          To: DIP_Bankruptcy <dip_bankruptcy2@bofa.com>
          Cc: 'Alicia Youngberg' <aliciayoungberg32@charter.net>
          Subject: Aly Eatery, Inc. [Sent To: dip_bankruptcy2@baml.com]

          Dear Bank of America:

          I represent Aly Eatery, Inc. in a pending Chapter 11 bankruptcy case in the U.S. Bankruptcy Court for the District of
          Nevada (Case No. 20‐50471‐btb). My Client has an exis ng business checking account with Bank of America with the
          last four digits of the account number being 0360. Alicia Youngberg, the President of Aly Eatery, Inc. and the
          authorized signor on the checking account, is copied on this email.

          My Client would like to add a “Debtor In Possession” account designa on to the exis ng checking account. Please let
          us know what needs to be done to accomplish this.

          Respec ully,

          KEVIN A. DARBY, ESQ.
          DARBY LAW PRACTICE, LTD.
          4777 Caughlin Parkway
          Reno, NV 89519
          Tel.: 775.322.1237
          Fax: 775.996.7290

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1 of 2                                                                                                                              5/8/2020, 10:59 AM
RE: Aly Eatery, Inc. [Sent To: dip_bankruptcy2@baml.com]                                       https://secmail.bankofamerica.com/securereader/read.jsf
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2 of 2                                                                                                                             5/8/2020, 10:59 AM
